                              Case 19-14416-JKO              Doc 2       Filed 04/04/19          Page 1 of 2

Information to identify the case:
Debtor 1              Maria C Plata                                                   Social Security number or ITIN       xxx−xx−0301
                      First Name   Middle Name   Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                              Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                      EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Southern District of Florida
                                                                                      Date case filed for chapter 7 4/4/19
Case number:          19−14416−JKO

Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. This notice has important
information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay. The debtors are seeking a discharge. Creditors who assert that
the debtors are not entitled to a discharge of any debts or who want to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadlines specified in this notice. (See box 9)

You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer
Identification Numbers, which may appear on a version of this notice. However, the full numbers must not appear on
any document filed with the court. Do not file this notice with any proof of claim or other filing in the case. Do not
include more than the last four digits of a Social Security or Individual Taxpayer Identification Number in any
document, including attachments, that you file with the court.

WARNING TO DEBTOR: WITHOUT FURTHER NOTICE OR HEARING THE COURT MAY DISMISS YOUR CASE FOR FAILURE TO TIMELY PAY
FILING FEE INSTALLMENTS, FAILURE TO APPEAR AT THE MEETING OF CREDITORS OR FAILURE TO TIMELY FILE REQUIRED SCHEDULES,
STATEMENTS OR LISTS, AND FOR FAILURE TO FILE PRE−BANKRUPTCY CERTIFICATION OF CREDIT COUNSELING OR FILE WAGE
DOCUMENTATION.

                                         About Debtor 1:                                    About Debtor 2:
1. Debtor's Full Name                    Maria C Plata
2. All Other Names Used
   in the Last 8 Years
3. Address                               1309 Seagrape Cir
                                         Weston, FL 33326
4. Debtor's Attorney                     Efrain Cortes Esq.                                 Contact Phone 954−486−5722
     (or Pro Se Debtor)                  POB 590173
     Name and Address                    Ft Lauderdale, FL 33359

5. Bankruptcy Trustee                    Scott N Brown                                      Contact Phone 305−379−7904
   Name and Address                      1 SE 3 Ave #1400
                                         Miami, FL 33131
6.     Bankruptcy Clerk's Divisional Federal Building                                                Hours open 8:30 a.m. − 4:00 p.m.
       Office Where Assigned Judge 299 E Broward Blvd, Room 112                                      Contact Phone (954) 769−5700
       is Chambered                  Ft Lauderdale FL 33301
     Documents filed conventionally in paper may be filed at any bankruptcy clerk's              Note: The clerk's office is closed on all
     office location. Documents may be viewed in electronic format via CM/ECF at any             legal holidays.
     clerk's office public terminal (at no charge for viewing) or via PACER on the
     internet accessible at www.pacer.gov (charges will apply). Case filing and
     unexpired deadline dates can be obtained by calling the Voice Case Information
     System toll−free at (866) 222−8029. As mandated by the Department of
     Homeland Security, ALL visitors (except minors accompanied by an adult) to any              Clerk of Court: Joseph Falzone
     federal building or courthouse, must present a current, valid, government issued            Dated: 4/5/19
     photo identification (e.g. drivers' license, state identification card, passport, or
     immigration card.)
                                                                                                            For more information, see page 2 >
                                                                                                                                         page
Local Form 309A USBC SDFL (Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case − No Proof of Claim Deadline (08/13/2018)
                                                                                                                                             1
                                  Case 19-14416-JKO                       Doc 2         Filed 04/04/19               Page 2 of 2
Debtor Maria C Plata                                                                                                            Case number 19−14416−JKO

7.       ** MEETING OF CREDITORS **                       May 8, 2019 at 03:30 PM                                          **LOCATION:

     Debtors must attend the meeting to be                The meeting may be continued or adjourned to a U.S. Courthouse, 299 E Broward
     questioned under oath. In a joint case, both         later date. If so, the date will be on the court Blvd #411, Ft Lauderdale, FL
     spouses must be present with required original
     government−issued photo identification and           docket.                                          33301
     proof of social security number (or if applicable,
     Tax ID). Creditors may attend, but are not
     required to do so.


8. Presumption of Abuse                                   Insufficient information has been filed to date to permit the clerk to make any
                                                          determination concerning the presumption of abuse. If more complete information,
     If the presumption of abuse arises, you may          when filed, shows that the presumption has arisen, creditors will be notified.
     have the right to file a motion to dismiss the
     case under 11 U.S.C. § 707(b). Debtors may
     rebut the presumption by showing special
     circumstances.


9. Deadlines                                              File by the deadline to object to discharge or                   Filing Deadline: 7/8/19
                                                          to challenge whether certain debts are
     The bankruptcy clerk's office must receive           dischargeable:
     these documents and any required filing fee by
     the following deadlines. Writing a letter to the
     court or judge is not sufficient.                 You must file a complaint:
                                                         if you assert that the debtor is not entitled to
                                                         receive a discharge of any debts under any of the
     A discharge of debtor will not be issued until      subdivisions of 11 U.S.C. § 727(a)(2) through (7),
     the Official Bankruptcy Form "Certification         or
     About a Financial Management Course" is filed
     by the debtor (unless the course provider filed a   if you want to have a debt excepted from discharge
     certificate of completion of the financial          under 11 U.S.C § 523(a)(2), (4) or (6).
     management course on behalf of the debtor).
                                                          You must file a motion if you assert that
                                                            the discharge should be denied under § 727(a)(8)
                                                            or (9).


                                                          Deadline to object to exemptions:                                Filing Deadline: 30 days after the
                                                          The law permits debtors to keep certain property as              conclusion of the meeting of creditors, or
                                                          exempt. Fully exempt property will not be sold and               within 30 days of any amendment to the
                                                          distributed to creditors. Debtors must file a list of property   list of supplemental schedules, unless as
                                                          claimed as exempt. If you believe that the law does not          otherwise provided under Bankruptcy Rule
                                                          authorize an exemption that the debtors claim, you may           1019(2)(B) and Local Rule 4003−1(B) for
                                                          file an objection. The bankruptcy clerk's office must            converted cases.
                                                          receive the objection by the deadline to object to
                                                          exemptions.


10. Abandonment of Property by                        Pursuant to Local Rule 6007−1(A), the trustee will abandon at the meeting of creditors
    Trustee, Deadline to Object to                    all property that the trustee has determined is of no value to the estate and file a report
    Trustee's Report                                  within two business days. Objections to the report must be filed within 14 days of the
                                                      meeting.

11. Proof of Claim                                    No property appears to be available to pay creditors. Therefore, please do not file a
                                                      proof of claim now. If it later appears that assets are available to pay creditors, the clerk
                                                      will send you another notice telling you that you may file a proof of claim and stating the
                                                      deadline. If this case is converted from chapter 13, under Local Rules 1019−1(E) and
                                                      3002−1(A) it has been designated as a no asset case at this time.

12. Creditors with a Foreign                          Consult an attorney familiar with United States bankruptcy law if you have any
    Address                                           questions about your rights in this case.

13. Option to Receive Notices                         1) EBN program open to all parties. Register at the BNC website
    Served by the Clerk by Email                      bankruptcynotices.uscourts.gov, OR 2) DeBN program open to debtors only. Register
    Instead of by U.S. Mail                           by filing with the Clerk of Court, Local Form "Debtor's Request to Receive Electronically
                                                      Under DeBN Program". There is no charge for either option. See also Local Rule
                                                      9036−1(B) and (C).

14. Translating Services                              Language interpretation of the meeting of creditors will be provided to the debtor at no
                                                      cost, upon request to the trustee, through a telephone interpreter service. Persons with
                                                      communications disabilities should contact the U.S. Trustee's office to arrange for
                                                      translating services at the meeting of creditors.
Local Form 309A USBC SDFL (Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case − No Proof of Claim Deadline                                    page 2
